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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CAMDEN VICINAGE
CLAIRE LAROCHE, : Civil No, 21-13918 (RBK/AMD)
Plaintiff, :
v.
ANDREW BURKI,
Defendant.

a :
ln iiieetisow FINAL PRETRIAL ORDER

The following shall constitute the Joint Final Pretrial Order pursuant to Rule 16, Federal
Rules of Civil Procedure. This Joint Final Pretrial Order shall govern the conduct of the trial of
this case. Amendments to this Order will be allowed only in exceptional circumstances to prevent
manifest injustice. See Fed, R. Civ. P. 16(e), Counsel are urged to move to amend in a timely
fashion any portion of the Order that must be changed or modified between the filing of the Order
and the trial date.

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I, JURISDICTION and BRIEF SUMMARY OF THE CASE

Counsel shall specifically set forth the Jurisdictional basis of this action, as well as a brief
summary of the claims and defenses.

This Court has subject matter jurisdiction over this civil action pursuant to 28 U.S.C.
§ 1332 (diversity) because the parties are citizens of different states and the amount in controversy
exceeds $75,000, exclusive of interest, costs, and attorney fees.

This case was filed on July 21, 2021. It arises out of video and social media statements
made and published by defendant in November 2020 that accused plaintiff of transporting a gun
from Virginia to New Jersey, planting the gun in his house, and then conspiring with her daughters
“TL” and “J” to frame defendant for a weapons crime, as shown on YouTube and Facebook:

In addition to transporting, “the gun” up from Virginia and planting it for police to find
while Andrew Burki was out of the state, Claire LaRoche, Esq. coached both of her
daughters on how to frame Andrew Burki in police statements, ... [YouTube 11/25/2020]

The following evidence irrefutably shows that [L], ‘orchestrated’ the fraudulent gun
charge along with Sarah Babaa and her mother Claire LaRoche. The four videos contain
police interviews regarding the fraudulent gun charge with three of our neighbors and
[L]'s sister, {J]. In the nearly one hour of police audio turned over during discovery from
the Collingswood Police Department, [L] is never asked a single question about the gun.
Additionally, strong evidence was suppressed from both the grand jury and multiple judges
which indicates that Claire LaRoche drove the gun up from Virginia for the purpose of
framing me. [Facebook 11/28/2020]

Plaintiff sues for defamation, false light, and tortious interference with prospective
economic advantage. Plaintiff secks presumed, compensatory, and punitive damages, as well as
pre- and post-judgment interest, reasonable attorney fees and costs, equitable relief to fake down
and retract the alleged defamatory statements, and for any other and further relief as the Court
deems just and proper. Defendant denies liability on the grounds that the alleged defamatory
statements were true, that he did not make them with requisite fault (negligence or actual malice),
and that plaintiff did not suffer damages.

Defendant counterclaims for violation of New Jersey and federal wiretap laws! and
invasion of privacy in connection with an April 2021 recording of himself, minor “S” (the son of
defendant and L, and grandchild of plaintiff}, and a third-person. Defendant seeks compensatory,
punitive, and statutory damages, as well as reasonable attorney fees and costs incurred with respect
to the wiretap claims, and for any other and further relief as the Court deems just and proper.
Plaintiff denies liability on the grounds that defendant had no reasonable expectation of privacy,
that any recording was consented to, vicariously, by S because plaintiff and L were concerned for
S’s safety and security, and that defendant did not suffer damages.

' See N.JS.A. 2A: E56A-24; 18 ULS.C.A. § 2520,

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Hi. STIPULATED FACTS

Stipulated facts shall be set forth in numbered paragraphs.

Background

1. Plaintiff is and has been a resident of Virginia.

2. Plaintiff is the mother of adult daughters L and J and grandmother of a minor child, S,
born between L and defendant.

3, Defendant is and has been a resident of New Jersey.

4. In November 2001, assault charges were brought against defendant for threatening a
female and kicking another male in the face.

5, In December 2001, defendant was convicted of disorderly conduct, threats against
life/property, simple assault, and summoning an ambulance/emergency vehicle when
none was needed.

6. In 2002, defendant was convicted on federal charges for uttering or possessing
counterfeit securities.

Family and Domestic Violence Matters

7. In 2014, defendant and L married, and in 2016 bore a child, 8.

8, On February 3, 2020, New Jersey police arrested defendant and charged him with three
counts of sexual assault, two counts of aggravated assault domestic violence, and one
count of iflegal possession of a high-capacity magazine firearm.

9, Defendant spent 74 days in jail, and, on April 17, 2020, he pled guilty to a single count
of fourth-degree criminal coercion for making threats against L. The original charges
against defendant were dismissed with prejudice,

10. On July 10, 2020, the Superior Court of New Jersey sentenced defendant to time served
and three years of probation on the conditions that he have no contact with L, that he
complete anger management and batterer’s counseling, that he abide by all child
custody orders, and that he not be allowed to own, possess, or purchase a firearm.

11, In February 2020, temporary and final domestic violence restraining orders were
entered against defendant.

12. In February and July 2020, online newspapers, including the Philadelphia Inquirer,
South Florida Sun Sentinel, and NJ.com, wrote stories about the criminal and domestic
violence matters involving defendant.

13. In June 2020, defendant initiated divorce and child custody proceedings against L,
which culminated in a trial and then judgment in June 2022, which is currently on
appeal.

The Alleged Defamation

14, In November 2020, defendant made and published video and social media statements
that accused plaintiff of transporting a gun from Virginia to New Jersey, planting the
gun in his house, and then conspiring with her daughters L and J to frame defendant
for a weapons crime, as shown on YouTube and Facebook:

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In addition to transporting, “the gun” up from Virginia and planting it for police to find
while Andrew Burki was out of the state, Claire LaRoche, Esq. coached both of her
daughters on how to frame Andrew Burki in police statements. ... [YouTube 11/25/2020]

The following evidence irrefutably shows that [L}, ‘orchestrated’ the fraudulent gun
charge along with Sarah Babaa and her mother Claire LaRoche. The four videos contain
police interviews regarding the fraudulent gun charge with three of our neighbors and
[L}’s sister, [J]. In the nearly one hour of police audio turned over during discovery from
the Collingswood Police Department, [L] is never asked a single question about the gun,
Additionally, strong evidence was suppressed from both the grand jury and multiple judges
which indicates that Claire LaRoche drove the gun up from Virginia for the purpose of
framing me. [Facebook 11/28/2020]

15. Defendant made and published these statements from New Jersey.

16, These statements remained on the internet until, at the direction of a state court judge,
defendant made them non-public, non-viewable after October 2021.

17, Defendant tagged these statements with the same online newspapers that had reported
on his criminal and domestic violence matters, including the Philadelphia Inquirer,
South Florida Sun Sentinel, and NJ.com,

18, Defendant posted links to these statements on Twitter.

19. It would have been unethical under the alleged circumstances for plaintiff, a lawyer, to
be involved in planting a gun on defendant and framing him for a crime, See Va, R,
Prof. Conduct 8.4.

The Gun
20, The gun for which defendant was arrested in February 2020 was defendant’s father’s
hunting rifle that had been given to defendant in 2017,

21, Defendant never saw the gun in Virginia.

I. EACH PLAINTIFF’S CONTESTED FACTS

1. Plaintiff intends to prove the following contested facts with regard to liability:

In November 2020, defendant made and published video and social media statements that
accused plaintiff of transporting a gun across state lines, planting the gun in his house, and then
conspiring with her daughters L and J to frame him for a weapons crime, as shown on YouTube
and Facebook with emphasis added:

In addition to transporting, “the gun” up from Virginia and planting it for police to find
while Andrew Burki was out of the state, Claire LaRoche, Esq. coached both of her
daughters on how to frame Andrew Burki in police statements, ... [YouTube 11/25/2020]

The following evidence irrefutably shows that [L], ‘orchestrated’ the fraudulent gun
charge along with Sarah Babaa and her mother Claire LaRoche. The four videos contain

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police interviews regarding the fraudulent gun charge with three of our neighbors and
[L]’s sister, [J]. In the nearly one hour of police audio turned over during discovery from
the Collingswood Police Department, [L] is never asked a single question about the gun.
Additionally, strong evidence was suppressed from both the grand jury and multiple judges
which indicates that Claire LaRoche drove the gun up from Virginia for the purpose of
framing me, [Facebook 11/28/2020]

In total, these online statements reached hundreds of thousands of people. The statements
are defamatory per se: they accuse plaintiff of crimes and acts of moral turpitude, dishonest and
unethical conduct, and/or acts that prejudice plaintiff in her trade and profession. The statements
were false: plaintiff did not transport any gun from Virginia (or anywhere else) and plant it in
defendant’s New Jersey house (or on defendant), nor did she conspire with her daughters (or
anyone) to frame defendant for a weapons crime. In truth, the gun defendant references was his
father’s gun that had been given to defendant in 2018 and has remained in his possession or on his
property ever since, Defendant made the defamatory statements with actual malice (or at least
negligently), knowing them to be false or in reckless disregard for their truth or falsity.

Regarding defendant’s counterclaims, defendant did not have a reasonable expectation of
privacy during any recording, and any recording was consented to, vicariously, by S because
plaintiff and L were concerned for S’s safety and security.

2. Plaintiff intends to prove the following contested facts with regard to damages:

The defamatory statements caused plaintiff—a lawyer, college professor, and member of
her local Virginia community—reputational injury and other damages. She has suffered
embarrassment, humiliation, indignity, mental anguish, and emotional and physical distress,
Moreover, plaintiff would have continued to perform well at Longwood University, receiving
increased pay and/or a promotion, but for the defamation matter.

Regarding defendant’s counterclaims, defendant did not suffer damages.

IV. EACH DEFENDANT’S CONTESTED FACTS

1, Defendant intends to prove the following contested facts with regard to liability:

2, Defendant intends to prove the following contested facts with regard to damages:

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iV (A) Defendant's Contested Facts

Defendant (AB) intends to show that the statements he made/published were true, substantially
true and that he believed they were true.

Defendant intends io prove that the matier which was the subject of the publication was touching
upon a matter of public importance or public concern, including the fact the criminal case was
published in three major newspapers, as well as the subject of his plea and sentence, his
incarceration for false charges and his ultimate vindication on rape and gun charges. AB’s sole
purpose was to exonerate himself, not to defame the plaintiff, and there was neither intent nor
malice underpinning his statements,

Alternatively, defendant intends to establish that the plaintiff was a public or quasi/semi-public
figure; a published and distinguished author, law professor, legal scholar and commentator,

Finally, defendant intends to show that the plaintiff suffered no damages, economic or otherwise.

[IV (B) Counterclaim Facts

Counterclaimant (AB) intends to show that on more than one occasion and using more than one
electronic listening device “a “wire” as defined by the statutes set forth below, Claire LaRoche
and her daughter Liz Burki, planted, concealed and (in one case) installed and actually sewed
devices, both in $.B.'s clothing and in his backpack, said devices (a USB) being cognizable as a
wire or electronic communication intercept in violation of New Jersey law (N_LS.A. 156A-2 a
though d) { et seq) as well as Federal Law (18 USC 2511).

Counterclaimant will further show that Claire LaRoche’s purpose in so acting was to intercept,
eavesdrop and invade the privacy of Counterclaimant’s conversations with his son, his friends,
his lawyers and other professionals, his parents, his phone calls and other third parties in order to
obtain an advantage in the pending divorce and custody trial, and in order to obtain information
for use in that proceeding, including, but not limited to Mrs, Laroche’s stated suspicion that
Andrew Burki was having an inappropriate sexual or romantic relationship with Lisa Jensen, his
then supervisor, Counterclaimant will also show that Ms, LaRoche’s actions were unjustified,
illegal and in violation of the law, all of which will be partially based on the content of the USB
device which AB fortuitously intercepted and offloaded,

Counterclaimant will also show that Claire LaRoche conspired with her daughter, LB lo
subsequently mislead the Superior Court of New Jersey in the event the wiretap was discovered

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~ something LB expressly did when she testified before the Hon, Sherri Schweitzer, JSC that
she, and not her mother, sewed the wiretap into $.B.’s overalls into the center pocket where it
was discovered. ‘The recordings also captured Mrs. LaRoche as she dictated a letler to Mr.
Guzzo about their activities and other conduct that contradicts her claims thal the USB was
necessary to protect $.B.

Counterclaimant notes that in the event he proves his claims, he is entitled to a measure of

statutory damages for each instance/violation, both under State and Federal law, as well as an
award of punitive damages,

Vv. WITNESSES and SUMMARY OF TESTIMONY

Only the witnesses whose names and addresses are listed herein will be permitted to testify
at the time of trial. For each witness listed, there must be a description of their testimony, Any
objection to a witness must be noted by opposing counsel and for each such witness objected to,
the name of the witness and the reason for the objection shall be given.

A. Plaintiff's Witnesses and Summary of Their Testimony”

1. Plaintiff intends to call the following witnesses with regard to liability and anticipates
they will testify as follows:

1. Plaintiff Claire LaRoche, 13436 Francisco Rd, Farmville, VA 23901 -This witness

will testify to defendant’s online publication of the false and defamatory statements

with negligence and/or actual malice. This witness will also testify as to safety and
security concerns surrounding S and defendant.

Ripon LaRoche, 13436 Francisco Rd, Farmville, VA 23901 — same above

L, 931 Oriental Ave., Collingswood, NJ 08108 — same above

J, 417 W Peace Street, Apt 948, Raleigh NC 47603 — same above

Defendant Andrew Burki, c/o defense counsel — same above, plus his lack of

reasonable expectation of privacy for any alleged illegal recording

6. Linda Dowling, 340 W Crossing Dr, Mount Royal, NJ 08061-1122 — This witness
will testify as to safety and security concerns regarding S.

7. Dawn Schwartz, Assistant Professor of Accounting, Longwood University, 201
High Street, Farmville, VA 23909 — This witness may testify to the falsity of
defendant’s online publication of the false and defamatory statements, as well as
plaintiff's concerns regarding S,

Mw Pwh

2 At this time, plaintiff intends to call her liability, damages, and expert witnesses live at trial. Plaintiff
reserves the right, however, to call out-of-state witnesses by deposition transcript/video and to use any
defendant statements as party admissions in lieu of, or in addition to, live defendant testimony. Plaintiff
also reserves the right to amend and supplement her list of witnesses, as well as call any witness listed by
defendant, needed to authenticate or prove the admissibility of evidence, needed to summarize
voluminous documents, or needed to impeach or rebut testimony or other evidence.

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2. Plaintiff intends to call the following witnesses with regard to damages and anticipates
they will testify as follows:

I. Plaintiff Claire LaRoche -- This witness will testify that plaintiff—a lawyer, college
professor, and member of her local Virginia community—suffered reputational
injury and other damages, including embarrassment, humiliation, indignity, mental
anguish, and emotional and physical distress. Moreover, this witness will testify
that plaintiff would have continued to perform well at Longwood University,
receiving increased pay and/or a promotion, but for the defamation matter.

2. Ripon LaRoche -- This witness will testify that plaintiff—a lawyer, college

professor, and member of her local Virginia community—suffered reputational

injury and other damages, including embarrassment, humiliation, indignity, mental
anguish, and emotional and physical distress.

L— same above

J —same above

Dawn Schwartz, Assistant Professor of Accounting, Longwood University, 201

High Street, Farmville, VA 23909 — same above, plus testimony that plaintiff would

have continued to perform well at Longwood University, receiving increased pay

and/or a promotion, but for the defamation matter.

6. Bennie Waller, PhD, Culverhouse College of Business, University of Alabama, 361
Stadium Drive, Tuscaloosa, AL 35487- same above

7, David Lehr, PhD, Professor of Economics and Department Chair, Longwood
University, 201 High Street, Farmville, VA 23909

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B. Defendant’s Objections to Plaintiff's Witnesses: if there are no objections to any of
the witnesses, defendant shall so state that in this portion of the Order. If there are
objections to any of plaintiff's witnesses, they shall be listed here.

Defendant has no objection to plaintiff’s proposed witnesses.

C, Defendant’s Witnesses and Summary of Their Testimony

1, Defendant intends to call the following witnesses with regard to liability and anticipates
they will testify as follows:

2, Defendant intends to call the following witnesses with regard to damages and anticipates
they will testify as follows:

Andrew Burki — party/liability

Louis G. Guzzo, Esq. - will testify as to liability with respect to counterclaim, gun and rape
allegations on defense

Lisa Jensen -- will testify as to liability on counterclaim

Rogan O’ Donnell ~ liability on counterclaim defense of liability on defamation claim
Nick Angelo — liability on counterclaim and liability defense/defamation

Elizabeth Burki — liability and damages, both in terms counterclaim and in defense of
defamation

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Julia LaRoche — liability and damages, both in terms counterclaim and in defense of
defamation

Claire LaRoche — party

Judith Forchione - liability on defamation claim

Chelsea Nilsson ~ liability on defamation claim

Cathline Maher — liability on defamation claim

Gregory Joseph,. Psy.D. — liability on defamation and counterclaim

Detective James Cavanaugh, CCPO — liability on defamation; CCPO testified before grand
jury as to rape allegations, took all statements and testified at GJ on 3/11/20 with respect to gun
and rape allegation, discovery of gun, etc.

D. Plaintiffs Objections to Defendant’s Witnesses: Jf there are no objections to any of
the witnesses, plaintiff shall so state that in this portion of the Order. If there are objections
io any of defendant's witnesses, they shall be listed here.

Plaintiff has no objection to defendant’s proposed witnesses, except as follows:

¢ Defendant has not provided addresses and/or description of testimony for each
witness.

¢ Plaintiff objects to any testimony by Louis Guzzo, Esq. (counsel for L) that may
invade attorney-client privilege or work product protections,

¢ Plaintiff objects to any testimony by Gregory Joseph, Psy.D. (including rebuttal
only) as not factual testimony and, instead, purported non-designated expert
witness testimony for which defendant failed to comply with Federal Civil Rule
26(a)(2) and the Amended Scheduling Order (ECF 84) in this case.

e Plaintiff otherwise reserves for trial her objections to specific testimony that may
not be relevant or otherwise admissible.

VIL EXPERT WITNESSES

Any prior Scheduling Order of the Court concerning experts is applicable to this action
and the directives of the Scheduling Order shall govern expert testimony in this case. Any expert
not listed in this portion of the Joint Final Pretrial Order shall not be permitted to testify at the
time of trial. Additionally, the curriculum vitae of every expert expected to testify at the time of
trial shall be attached to this Joint Final Pretrial Order. The curriculum vitae or simmary of the
expert’s qualifications may be read into the record at the time the expert takes the stand, and no
opposing counsel shall be permitted to question the qualifications of the expert unless the basis of
the objection is set forth in this Joint Final Pretrial Order. No expert will be permitted to testify
at trial unless all opposing counsel have received the curriculum vitae of the expert and the
information required by Fed, R. Civ, P. 26(a)(2) as directed in the Scheduling Order.

If any hypothetical questions are to be put to an expert witness on direct examination, they
shall be written in advance and submitted to the Court and counsel prior to commencement of
trial.

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1, Plaintiffs expert witnesses are:

Dr, Robin Lynch, PhD, a licensed psychologist and child custody expert, whose Rule
26(a)(2) disclosures and expert report were timely served on defendant on September 28, 2022,
See ECF #84 (Amended Scheduling Order), Dr. Lynch will testify that known indicators of risk
of abuse of S by defendant were present as of April 2021, which is when defendant alleges plaintiff
illegally wiretapped him and invaded his privacy.

2. Defendant’s objection to the qualifications of plaintiffs expert witnesses are (objections
shall be referenced to the name of each listed expert):

None.

3, Defendant’s expert witnesses are:

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at withvespeéct to an ert testit :

4. Plaintiff's objections to the qualificatfons of defendant’s expert witnesses are
(objections shall be referenced to the name of each itsted expert).

Plaintiff objects to any testimony by Gregdry Joseph, Psy.D. (including rebuttal only) as
not factual testimony and, instead, as purported ngh-designated expert witness testimony for which
defendant failed to comply with Federal Civil Riile 26(a)(2) and the Amended Scheduling Order
(ECF 84) in this case.

VIL EXHIBITS

In this section of the Joint Final Pfetrial Order, counsel should number each proposed
exhibit and upon receipt of the exhibit lisf of an adversary, opposing counsel should prepare a
response to this exhibit list indicating as (@ each exhibit whether there will be an objection and if
there is, the nature of the objection. Absdnt an extraordinary showing of good cause, ONLY THE
EXHIBITS LISTED BELOW SHALI/ BE INTRODUCED AT THE TIME OF TRIAL, You
are not required to list exhibits that wifl be used, if at all, only for impeachment purposes,

Counsel are reminded that eth such exhibit shall be physically pre-marked corresponding
to the designation below. Copies df exhibit lists shall be provided to the District Judge and the
assigned court reporter at the timd of trial.

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A. Plaintiff's Exhibits?

1. Plaintiff intends to introduce the following exhibits into evidence (list by number with
a description of each exhibit):

See Exhibit 1, Plaintiff contends that defendant has not objected to her trial exhibits
pursuant to the instructions for this joint final pretrial order and reserves all rights accordingly.

2. Defendant objects to the introduction of plaintiffs exhibits (set forth manber of exhibit
and grounds for objection):

Defendant reserves the right to make such objections as may be available with respect to
foundation, relevance, admissibility, authenticity and any other objections that may arise and any
other objections permitted under the Fed. R, Evid, To the extent any video or document is properly
authenticated and relevant, we cannot object to same. Neither the local nor Federal Rules obligate
Mr. Burki to object or stipulate to the admissibility, pre trial, of every trial exhibit.

B, Defendant’s Exhibits

1, Defendant intends to introduce the following exhibits into evidence (list by manber with
a description of each exhibit):

See Exhibit 2.

2. Plaintiff objects to the introduction of defendant’s exhibits (se/ forth number of exhibit
and grounds for objection):

See Exhibit 2 (with plaintiff's specific objections). In general, plaintiff contends that
defendant has (1) failed to sufficiently describe and/or identify (e.g., bates number,
deposition exhibit number, production date) his proposed trial exhibits; (2) included
numerous duplicate copies (in whole or in part) of exhibits; (3) failed to demonstrate that
exhibits were produced in discovery in this case; and (4) included large numbers of exhibits
from state court matters that are hearsay and irrelevant. Plaintiff reserves all rights
accordingly.

VII. = LAW
A. Plaintiff
1. Plaintiff’s statement of the legal issues in this case:

Defamation, Whether defendant (1) made and published statements about plaintiff to a

3 Plaintiff reserves the right to amend and supplement her list of exhibits, and introduce demonstrative
evidence and exhibits listed by defendant or needed to refresh or record recollections, or impeach or rebut
testimony or other evidence.

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third party, (2) that are false and defamatory, (3) at least negligently without due care, and (4)
resulted in reputational injury and other damages.’ For presumed damages, whether the statements
are defamatory per se because they accuse plaintiff of crimes and acts of moral turpitude, dishonest
and unethical conduct, and/or acts that prejudice plaintiff in her trade and profession.” For
compensatory damages, whether the statements tend to subject plaintiff to “hatred, contempt or
ridicule” or “cause[ ] others to lose good will or confidence” in her or “lower [her] in the estimation
of the community or to deter third persons from associating or dealing with [her]."> For punitive
damages, whether defendant made the statements willfully, wantonly, and/or with actual malice,
knowing that they were false or recklessly disregarding their truth or falsity.’

False Light. Whether defendant (1) placed plaintiff in a false light that would be highly
offensive to a reasonable person and (2) knew of or acted in reckless disregard as to the falsity of
the publicized matter and the false light in which plaintiff would be placed.®

Tortious Interference with Prospective Business Advantage, Whether (1) plaintiff had a
reasonable expectation of economic advantage, (2) defendant intentionally and maliciously
interfered with that right, (3) the interference caused the loss of the prospective gain, and (4) but
for the interference, there was a reasonable probability that plaintiff would have received the

4 See Feggans v. Billington, 677 A.2d 771, 775 (NJ, Super. Ct, App. Div. 1996); LY Berdifehey, Corp. v.
Truss Cosmetics Corp., 2023 WL 334539, at *7 (D.N.J. Jan. 20, 2023); Tharpe v. Saunders, 737 8.E.2d
890, 892 (Va. 2013). The Court will apply New Jersey defamation law as the law of the forum state
because there is no conflict of laws between Virginia (where Claire lives and suffered reputational harm)
and New Jersey (where defendant lives and made the defamatory statements), The Court will also apply
New Jersey punitive damages law, See Freedom Mort. Corp. v. LoanCare, LLC, 2023 WL 4366288
(D.N.J. July 6, 2023) (applying New Jersey punitive damages law over Virginia law given the “location
of the wrongdoer’s conduct, principal place of business, and incorporation state” under New Jersey's
most-significant-relationship test for punitive damages).

3 See WALA. v, D.A., 43 A.3d 1148, 1154 (NJ, 2012) (“Presumed damages apply in libel cases.”);
Mayflower Transit, LLC y, Prince, 314 ¥ Supp.2d 362, 377 (D.N.J, 2004) (“if a defamatory statement
constitutes libel per se, damages are presumed to exist and need not be shown”). See also G.D. v. Kenny,
15 A.3d 300, 310 (NJ, 2011) (“A statement falsely attributing criminality fo an individual is defamatory
as a matter of law.”) (citation omitted); Ward v. Zelikovsky, 643 A.2d 972, 977 (N.J. 1994); Printing
Mart-Morristown v, Sharp Electronics Corp., 563 A.2d 31, 45 (N.J. 1989); Lawrence v. Bauer Pub. &
Printing Lid., 446 A.2d 469, 473 (N.J. 1982) (holding that even a statement that plaintiffs “may be”
charged with a crime defamatory as a matter of law).

‘ LY Berditchev, Corp., 2023 WL 334539, at *7 (citing New Jersey cases); Ward, 643 A.2d at 978
(quotations and citation omitted).

7 See Harte-Hanks Comme’ns, Ine. v. Connaughton, 491 U.S, 657, 668 (1989); Herbert y. Lando, 441
US, 153, 160, 164 n.12, 165 0.15 (1979) (referencing actual malice factors such as “prior or subsequent
defamations, subsequent statements of the defendant, circumstances indicating the existence of rivalry,
ill-will, or hostility between the parties”),

® See Iglesias v. O'Neal, No. CV 16-6291 (RBK/AMD), 2020 WL 416197, at *3 (D.N.J. Jan. 27, 2020).

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anticipated economic benefits.’

Defendant’s Wiretap & Invasion of Privacy Counterclaims, Whether (1) defendant had a
reasonable expectation of privacy during any recording! and (2) any recording was consented to,
vicariously, by S because plaintiff and L were concerned for S’s safety and security.!' For punitive
damages, whether there was “an evil minded act accompanied by a willful and wanton disregard
of the rights of others.”

B. Defendant
1, Defendant’s statement of the legal issues in this case:

PLAINTIFF'S DEFAMATION CLAIMS

PLAINTIFF’S CLAIMS AND THE DEFENSE TO THOSE CLAIMS WILL BE FACT
SENSITIVE AND WE DISAGREE THAT A SLANDER PER SE DETERMINATION IS
APPROPRIATE AT THIS TIME, NOR WOULD THE DEFENSES TO SAME BE
AVAILABLE UNTIL TESTIMONY AT TRIAL, E.G. WHETHER PLAINTIFF IS A
LIMITED PURPOSE PUBLIC FIGURE OR WHETHER DEFENDANT'S
STATEMENTS TOUCH UPON AN ISSUE OF LEGITIMATE PUBLIC CONCERN
(E.G, HIS ARREST ON FALSE RAPE AND GUN CHAARGES AND HIS PLEA DEAL)

We agree that slander per se does not require actual or special damages. In fact no damages
need to be shown, Absent a per se finding, however, a statement is defamatory if it is
false, communicated to a third person, and tends to lower the subject's reputation in the
estimation of the community or to deter third persons from associating with the
subject. Lynch vy. N.J, Educ. Ass’n, 161 N.J. 152, 164-65, 735 A.2d 1129 (1999).

We disagree with your claim that the statement is defamation per se, which has several
exceptions, including statements made with respect to a public concern — his arrest and
incarceration for sexual assault and gun charges — Mr, Burki’s intent to exonerate himself
after the postings in local newspapers you referenced in your Order, We also intend to
prove that Mr. Burki’s statements were true and that he believed them to be so. Truth is a
defense to all forms of defamation, so the question of whether or not the statement
published was true and whether or not Claire LaRoche is a semi or quasi public figure must

9 See Printing Mart-Morristown vy, Sharp Electronics Corp., 563 A.2d 31, 37 (NF. 1989).

© See N.LS.A. 2A:156A-24; 18 ULS.C.A, § 2520. See also Hornberger y. Am, Broad. Cos., Inc., 799
A.2d 566, 590-92, 595 (N.J. Super. Ct. App. Div, 2002) (discussing “reasonable expectation of privacy”
in context of wiretap claim).

See D'Onofrio v, D'Onofrio, 780 A.2d 593, 596-98 (N.J. Super. Ct. App. Div. 2001); Cacciarelli v.
Boniface, 737 A.2d 1170, 1173 (N.J. Super, Ct. Ch. Div, 1999) (both cases addressing, “vicarious
consent” to recording by child through parent or guardian concerned for best interests of child and
including consent factors),

2G, v.C., 603 A.2d 990, 995 (N.J, Super. Ct. Ch. Div, 1991).
13

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be determined by the jury. See, e.g, Rocci v. Ecole Secondaire Macdonald-Cartier, 165
N.J. 149, 156-57, 755 A.2d 583 (2000)(plaintiff obligated to prove actual damages for libel
about matter of public concern); Pitts v. Newark Bd. of Educ., 337 N.J.Super. 331, 338
(App.Div,2001) ("even if defendant's pronouncement . . . could be viewed ass slander per
se plaintiff was still required to prove actual damages" because the speech involved a
matter of public concern); Stickle y. Trimmer, 50 N.J.Super. 518, 522, 143 A.2d | (App.
Div.) (“Damages is presumed in the case of ail defamatory libels, as distinguished from
slanders."), certif. denied, 28 N.J. 57 (1958); Herrmann v. Newark Morning Ledger Co.,
48 N.J.Super, 420, 446, (App..Div. 1958) same). See Jobes v. Evangelista, 369 N.J.Super,.
384 (App.Div.2004). A statement is defamatory if it is false, communicated to a third
person, and tends to lower the subject's reputation in the estimation of the community or to
deter third persons from associating with the subject. Lynch v. N.J. Educ. Ass'n, 161 .N.J.
152, 164-65, 735 A.2d 1129 (1999).

We also do not agree that merely alleging that Claire LaRoche “transported the firearm to
New Jersey” e.g. across state lines is a felony ~ especially considering the recent decisions
in the Third Circuit with respect to who may possess and transport firearms, There is no
felony alleged in that part of his statement. And, while providing false information to
police is a felony, we contend that Mr. Burki alleged that it was Liz, not Claire, who did
that, Ultimately this will be a question of law for the trial judge after the testimony is in,

The basic nature of it is “whether AB believed his statements to be true” and also, “whether
or not the statements were objectively true. Whether the statements touched upon a matter
of public concern, and whether or not Claire LaRoche could be construed as a limited
purpose public figure, as noted in McLaughlin v, Rosanio, Bailets & Talamo, 331
N.J.Super. 303 (App.Div.2000); Costello v, Ocean County Observer, 136 N.J. 594, 612
(1994); Fortenbaugh v. New Jersey Press, Inc., 317 N.J. Super, 439, 455 (App.Div.1999).

DEFENDANT’S “WIRETAP” VIOLATIONS ARE DISTILLED AS FOLLOWS:
Under both forms of wiretap act (Federal and State) the proofs are essentially identical:

“It is illegal to intentionally or purposefully intercept disclose or use the contents of any
wire, oral or electronic communication through the use of a device,”

Therefore, the question presented would be whether or not Claire LaRoche attempted to or
did intentionally or deliberately intercepted Mr. Burki’s communications through the use
of an electronic device — e.g, the USB device that Andrew Burki discovered sewn into his
son’s overalls, all as documented on the recordings that were discovered in which Ms.
LaRoche talks about other recordings and wanting “a few more hours” of recording and
will “shut it down”.

“Device’ is defined as a “mechanical or electrical tool or apparatus,” such as the USB
device discovered in 8.B,’s clothing,

There are no exceptions {o either New Jersey or Federal law — good faith or otherwise. We

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argue that D’Onoftio is inapplicable.

IX. MISCELLANEOUS

Set forth any additional stipulations of counsel and/or motions on other matters which
require action of the Court,

Set forth any notice required to be given under Rules 404(b), 609(b), 803(24) and
804(b)(5), Federal Rules of Evidence.

1, Plaintiff intends to use evidence of criminal convictions older than 10 years against
defendant. See Fed. R. Evid, 609(b)(2).

Defendant stipulates to the criminal charges and their disposition above, but objects to their
admission as both irrelevant and too remote pursuant to Fed. R. Evid. 608 and 404, The
events were 20 year's ago.

Plaintiff disputes that the criminal charges and dispositions are irrelevant, too remote, or
that all are over 20 years old. Plaintiff intends to introduce the criminal matters to show
relevant genuine concern for the safety and security of the minor child “S,” not for
prohibited character evidence purposes.

2. Plaintiff requests that defendant conduct his direct counterclaims examinations of
witnesses cailed by plaintiff in her case-in-chief following his cross examinations of those
witnesses, or in a similar fashion such that witnesses called by plaintiff do not have to be
recalled in defendant’s case-in-chief. See Fed. R. Evid. 611.

Defendant will leave the order of proofs as well as the cross/direct of plaintiff's witnesses
on the Counterclaim up to the trial court, but does not necessarily object to presenting the
counterclaim proofs during cross examination.

3. Plaintiff reserves the right to call witnesses by remote or phone means if mutually agreed
by the parties and approved by the Court for good cause. See Fed. R. Evid. 611; Fed. R.
Civ. P. 43({a) (“For good cause in compelling circumstances and with appropriate
safeguards, the court may permit testimony in open court by contemporaneous
transmission from a different location.”).

4, The parties agree on providing each other a minimum 24 hours notice of planned witness
testimony and whether the witness will be called live, remote, or by deposition, but not the

exact order of witness testimony.

5, The parties agreed on deadlines for deposition designations (October 16 for direct and
October 23 for counter). See ECF 137,

6. Plaintiff advises the Court that the parties have a number of disputes related to triai
exhibits that plaintiff, at least, would like resolved before trial in the interest of securing

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the “just, speedy, and inexpensive determination” of the trial. See Fed. R. Civ, P, 1. This
includes the following:

a. Defendant failed to object to each of plaintiffs trial exhibits pursuant to the
instructions for this joint final pretrial order. Plaintiff, on the other hand, provided her
specific objections to each of defendant’s trial exhibits. See Exhibit 2 (with plaintiff's
specific objections),

b. Plaintiff lodged numerous objections to defendant’s trial exhibits, Excluding
the many relevance and hearsay objections, plaintiff objected to defendant’s failure to
sufficiently describe and/or identify (¢.g., bates number, deposition exhibit number,
production date) his exhibits; defendant’s failure to de-duplicate his exhibits (in whole or
in part); and defendant’s failure to demonstrate that his exhibits were produced in discovery
in this case — simply because an exhibit exists or that defendant used an exhibit in state or
other court proceedings does not satisfy defendant’s discovery obligations in this case,

c. Defendant declined to agree on exchanging copies of pre-marked trial exhibits
by October 19, 2023, as suggested by plaintiff.

d. Defendant declined to agree on marking exhibits as “PL. Trial Ex. No.” or “Def,
Trial Ex, No,”, as suggested by plaintiff,

e. Defendant declined to agree on providing a minimum 24 hours notice of planned
use of demonstratives, providing a copy of same where feasible, both as suggested by
plaintiff.

X. NON-JURY TRIAL (not applicable)

XI. JURY TRIAL

Ne later than seven days prior to the scheduled trial date or at such time as the Court may
direct:

1. Each party shail file a trial brief or memorandum with citations and authorities and
arguments in support of the party’s position on all issues of law.

2. Each party shall file proposed requests for charges to the jury, Supplemental requests
to charge that could not have been anticipated may be submitted ary time prior to the arguments
to the jury, All requests for charge shall be on a separate page or pages, plainly marked with the
name and number of the ease; shall contain citations of supporting authorities, shall designate the
party submitting same; and shall be numbered in sequence.

3, Each party shall file proposed voir dire questions,

Copies of filed trial briefs, proposed requests for charges to the jury, and proposed voir
dire questions shall also be sent to the District Judge in paper and electronic form (Microsoft

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Word),

EACH OF THESE ITEMS IS TO BE FILED PRIOR TO THE FIRST TRIAL DATE
EVEN IF THE CASE IS CONTINUED,

COUNSEL ARE ON NOTICE THAT FAILURE TO PROVIDE TIMELY
COMPLIANCE WITH THE REQUESTS OF PART X AND XI MAY RESULT IN THE
POSTPONEMENT OF TRIAL AND THE ASSESSMENT OF JUROR AND OTHER COSTS

AND/OR THE IMPOSITION OF SANCTION.

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CONCLUDING CERTIFICATION

We hereby certify by the affixing of our signatures to this Joint Final Pretrial Order that it
reflects the efforts of all counsel and that we have carefully and completely reviewed all parts of
this Order prior to its submission to the Court. Further, it is acknowledged that amendments to
this Joint Final Pretrial Order will not be permitted except where the Court determines that
manifest injustice would result if the amendment is not allowed.

Attorney(s) for Plaintiff: Attorney(s) for Defendant:
/s/Stephanie Jmobrenone /s/David W. Sufrin

Stephanie Imbornone, NJ: #014022011 David W. Sufrin, NJ #031281995
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Alexandria, Virginia 223 14
T: (202) 399-1009 / F: (202) 800-2999
jmeadows@grsm.com / cabbott@grsm.com

we
Entry of the foregoing Joint Final Pretrial Order is hereby APPROVED this } day

of October, 2023, wwe

ANN MARIE DONIO

UNITED STATES MAGISTRATE JUDGE
United $tates District Court

for the District of New Jersey

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EX, 1 - FINAL JOINT PRET

L ORDER

PLAINTIFE’S LIST OF TRIAL EXHIBITS

Case 1:21-cv-13918-RBK-AMD Document145 Filed 10/11/23 Page 19 of 46 PagelD: 1385

Nal whine,

Crwk mph wes av
Pl. Title or Description Bates No. Other Defendant's
Trial Ref, No. Objection
Ex. pr
No,
l 11/25/2020 YouTube defamatory video posted by Burki Opp’n MS}
(electronic form) Ex, 12
2 (a-d) | 11/28/2020 Facebook defamatory videos posted by Opp’n MSJ
Burki (electronic form) Ex, 13
3 Screenshots of select Andrew Burki social media posts | LaRoche 39- Burki
re Claire LaRoche 43, 49-51, 58- Dep. Ex.
60 4/ Opp’n
MSJ Ex.
11
4 Transcripts of Andrew Burki Facebook posts LaRoche 281- | Burki Dep.
(corresponding to Trial Ex. 2d & 2a) 292 Ex. 5
§ (a-c) | 1/31/2020 video clips of Liz LaRoche & Julia LaRoche | LaRoch 238-
locating gun at Burki residence 240
6 Photo of Instruction Manual for Ruger Model 10/22 LaRoche 16
Carbine
7 1/31/2020 — 2/3/2020 text messages between Claire LaRoche 207- | Opp’n MSJ
LaRoche & Julia LaRoche 216 Ex. 15
8 1/31/2020 - 2/3/2020 text messages between Claire LaRoche 217-
LaRoche & Liz LaRoche 222
9 2/1/2020 — 2/3/2020 text messages between Claire LaRoche 20-25 | Schwartz
LaRoche & Dawn Schwartz Dep. Ex.
1
10 February 2020 LaRoche EZPass Account Statement LaRoche 28 Opp’n MSJ
Ex. 17
il (a- | 2/3/2020 audio recording of NJ Police Interview of
d) Andrew Burki (“Andrew Tape 3 (VIDEO)” from Burki
production) (clips regarding firearms charge)
a, 0-1:50
b, 59:30-1:05:35
c. 1:08:25-1:10:46
dd. $:13:52-1:16:45
12 2/7/2020 NJ.com article on Andrew Burki charges and Burki Dep,
arrest: Prominent N.J, recovery advocate accused of Ex. 8/
aggravated sexual assault, weapons charges Opp’n MSJ
Ex. 9
13 2/10/2020 South Florida Sun Sentinel article re Burki: Burki Dep.
Addiction recovery advocate charged with sexual Ex, 8/
assault Opp’n MSJ

Ex.9

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Ph Title or Description Bates No, Other Defendant’s

Trial Ref, No. Objection

Ex,
No.

14 7/10/2020 Philadelphia Inquirer South Jersey recovery Burki Dep.
advocate sentenced to probation in sex-offense case Ex, 8/
involving his wife Opp’n

MSJ Ex. 9

15! 9/2/2020 Andrew Burki’s Certification in Reply to LaRoche 903- | Burki Dep.
Defendant’s Certification in Opposition to Plaintiff's 913 Ex. 14/
Motion and in Opposition to Cross-Motion Opp’n MSJ

Ex. 18
16 11/17/2020 Certification of Andrew Burki in Support of | LaRoche 570- | Burki Dep,
Notice of Motion 579 Ex. 15 /
Opp’n MSJ
Ex, 19
17 (a- | 7/14/2022 clips from Tape 2 of video deposition of Opp’n MSJ
b} Andrew Burl Ex, 20 (a)
a. 1:02:20-1;03:58
b,  1:52:13-1:54:56

18 10/8/2021 Sara Babaa, ef al. v. Andrew Burki, Third
Amended Complaint & Demand for Jury Trial (Case
No, 9:21-cv-80013-xxx) (S.D. Fla, 2021)

19 Claire LaRoche Curriculum Vitae LaRoche 224-

228

20 2/15/2022 VA State Bar Certificate of Good Standing LaRoche 186
for Claire LaRoche

21 9/2023 SC State Bar Certificate of Good Standing for
Claire LaRoche

22 Longwood University Professor Ratings for Claire LaRoche 189- | Opp’n MSJ
LaRoche 205 Ex, 2

23 2013-2021 Longwood University Annual Performance | LaRoche 229-

Evaluations for Claire LaRoche 237; 241-254

24 9/28/21 Certification of Health Care Provider for LaRoche 258-
Employees’ Serious Health Condition under the FMLA | 261

25 2/4/2020 NJ Domestic Violence Civil Complaint & LaRoche 29-34 | Burki Dep.
Temporary Restraining Order against Andrew Burki Ex. 6

26 2/24/2020 NJ Superior Court, Camden County, LaRoche 35-38 | Burki Dep.
Chancery Division, Family Party, Final Restraining Ex. 7
Order against Andrew Burki

27 1/£5/2021 NJ Superior Court, Camden County, LaRoche 369 | Burki Dep.
Chancery Division, Family Party Order modifying Final Ex, 20

Restraining Order against Andrew Burki

! Plaintiff's Exhibits 15 and 16 consist of sworn certifications by Defendant Andrew Burki submitted in connection with
the family law matters in N.J. Superior Court, Camden County, Chancery Division, Family Part.

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PL Title or Description Bates No. Other Defendant's
Trial Ref. No, Objection
Ex.
No.
28 4/28/2021 NJ Superior Court, Camden County, LaRoche 428 | Burki Dep.
Chancery Division, Family Party Order denying Ex, 20
Andrew Burki Motion to Vacate Final Restraining
Order
29 7/7/2021 NJ Superior Court, Camden County, Chancery | LaRoche 90 Burki Dep.
Division, Family Party Order sustaining April 28, 2021] Ex. 20
FRO against Andrew Burki
30 2/6/2023 Per Curiam Opinion of the Superior Court of Opp’n MSJ
New Jersey, Appellate Division (Docket No, A-3241- Ex. 7
20) (affirming denial of motion to vacate Final
Restraining Order)
31 9/2020 — 3/2021 audio files of conversations between
Andrew Burki & S.B.
a, 3/13/2021 AB tells Sav they are stuck in NJ-13 yr | LaRoche 854
month clip
b. 11/26/2020 Thanksgiving LaRoche 857
c, 11/22/2020 “Don’t Like It When You Say My Family | LaRoche 858
is Bad”
d. 11/11/2020 Bad rest of life and will need to fight LaRoche 859
e. 11/2/2020 Bad people have kept us from getting LaRoche 860
together
f. 11/2020 Harmful Comments Compilation LaRoche 861
g. 10/22/2020 Bad choices & monsters LaRoche 862
h, 9/28/2020 Discussion re bad people LaRoche 863
i. 9/23/2020 Compilation of harmful comments & LaRoche 864
name calling
j. 9/23/2020 Bad guys LaRoche 865
32 Transcripts of recordings of conversations between Use as listening

Andrew Burki & SB.

a. “Don’t Like It When You Say My Family is Bad”
b. “Novy. 2 Bad People”

c, “Harmful Comments Name Calling”

d. “Thanksgiving”

e. “Harmful Comments”

LaRoche 304-
306
LaRoche 307-
309
LaRoche 3 10-
317
LaRoche 325-
340
LaRoche 341-
350

aid only

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Pl. Title or Description Bates No. Other Defendant’s
Trial Ref, No. Objection
Ix.
No.
33 Nick Angello social media posts LaRoche 11 1- | Burki Dep. | Foundation
115 Ex, 10
34 Photos of bruises found on §.B. (photos only) LaRoche 118-
120, 122-132
35 2/5/2020 Affidavit of Elizabeth Franklin LaRoche 100 | Def’s Tr. | Objection
Ex, 197
36 2/5/2020 Sworn Statement of Laura Kunz LaRoche 101 Def.’s Tr. | Objection
Ex. 200
37 2/6/2020 Affidavit of Elizabeth Dorrow LaRoche 99 Def.’s Tr. | Objection
Ex. 198
38 3/5/2020 Sworn Statement of Sarah M. Babaa LaRoche 95-98 Objection
39 Social media posts re: other victims of Andrew Burki LaRoche 102-
104
Salt Lake City, UT Police Dept. records re 11/15/2001 LaRoche 8-15 Reserve right to
40 criminal assault incident for Andrew Burki object on
remoteness and
prejudice
South Salt Lake Justice Court, Salt Lake County, State Reserve right to
Al of Utah 2001-2002 criminal records (certified copy) object on
remoteness and
prejudice
11/22/2002 U.S. District Court of Utah Judgment of LaRoche 3-7 Reserve right to
49 Conviction against Andrew Burki (Case# 2:02-CR-169- object on
001 DAK) (certified copy) remoteness and
prejudice
3 4/14/2020 Andrew Burki New Jersey Judiciary Plea
Form
4/17/2020 Transcript of Andrew Burki Plea Hearing
44 (Superior Court of NJ, Law Division, Criminal Part,
Camden County, Indictment No. 1-0636-03-20)
7/10/2020 Transcript of Court Sentence for Andrew
45 Burki (Superior Court of NJ, Law Division, Criminal
Part, Camden County, Indictment No. 1-0636-03-20)
7/13/2020 Superior Court of NJ, Camden County Opp’n MSJ
Judgment of Conviction (certified copy) Ex, 5/
46 ‘
Burki Dep.
Ex. 11
47 7/28/2020 Burki Certificate of Completion of Domestic | LaRoche 957 | Burki Dep.
Violence Class Course for Violence Ex, 12

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Pi, Title or Description Bates No. Other Defendant’s
Trial Ref. No, Objection
Tex.
No.
2/6/2023 Per Curiam Opinion of the Superior Court of Opp’n MS]
Ag New Jersey, Appellate Division (Docket No, A-1942- Ex. 6
20) (affirming criminal conviction)
11/29/2021 Andrew Burki’s Responses to Claire Burki Dep.
49 LaRoche’s Requests for Admission (signed under oath) Ex, 2/
(RFAs ## 1-2, 5, 7, 12-13, 15) Opp’n MSJ
Ex. 10
12/15/2021 & 12/21/2021 Andrew Burki’s Responses & Burki Dep.
Objections to Claire LaRoche’s Interrogatories & Ex. 3
50 Request for Production of Documents (including
supplemental responses) (signed under oath) (IROG#s
5, 15)
Deposition Party Admissions by Defendant Burki Dep.
51
Defendant Summary Judgment Memorandum of Law Def. MSJ
52 (Excerpts)

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Robin M, Lynch, PhD
P.O.Box 158, Riverdale Avenue Bronx, NY 10471

NYS license #013654

Education
1996 Columbia University Ph.D. Social Psychology

1983 Teachers College, Columbia University, M.A., Ed.M. Psychological
Counseling

1978 ‘Tulane Univetsity, Sophie Newcomb College B.A. Dramatic Literature

Professional Experience

2015 Psychological Consultant: Evaluation, assessment, counseling, and
psychotherapy services to in-patient population; The Ferncliff Nursing Home,
Rhinebeck, New York.

2000 National consultant on high conflict child custody cases, providing peer review
and consulting services for child custody cases on appeal.

1999 Child Custody Evaluator appointed to the Appellate Division, Panel of Mental
Health Professionals: First and Second Departments: Child custody consultant in
New York City and Westchester Family and Supreme Court; concentration on “high-
conflict” cases. Through the auspices of the Appellate Division, First Department,
and the Forensic Division of the New York State Psychological Association, conduct
workshops on the psychological issues pertaining to custody evaluations including
affect dysregulation theory, primary attachment theory and the identification of
trauma related to domestic violence and child abuse for psychologists conducting
child custody evaluations.

1999-2007 Staff Psychologist: New York State Residential Facility, Mohegan Lake,
N.Y. Provide psychothera y based on the ART method (Affect Regulation Therapy)
for mentally disabled residents the majority of whom were elderly.

1998-2002 Hudson Rivet Counseling Service, Inc., Mount Kisco,
N.Y. Psychologist: Provided individual counseling to adults and adolescents. Designed
a mediation program specializing in divorce mediation, Lectured and conducted

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training sessions on mediation strategies and techniques for psychologists,
psychotherapists and attorneys.

1995-1998 Psychiatric Services Center, White Plains, New York, Post-doctoral
internship; Psychotherapist: Counseled adults and adolescents diagnosed with a range
of moderate to severe psychological disorders. Provided individual and group
counseling to residents of mentally disabled group homes; conducted grou

counseling for OCD patients, Counseled thirty clients on a weekly basis. Supervised
by a NYS licensed psychologist and a psychiatrist investigating the effects o
psychotropic drugs.

1988-1993 Social Psychology Department, Teachers College, Columbia
University, Research Assistant, International Center for Cooperation and Conflict
Resolution (ICCCR) The Center was created and directed by Morton Deutsch, Ph.D.,
whose research in the 1950s and 1960's laid the theoretical groundwork for mediation
and negotiation. As part of our research, trained educators and counselor's in
mediation and negotiation skills for resolving cross-cultural, marital and parent-child
conflicts, Other research included assessing the effect of conflict resolution training
and cooperative learning on the extent of violence in high school students’ lives and
its subsequent effect on attitude toward oneself and others. Findings were used to
determine factors that are related to dysfunctional adolescents. Collected and assisted
in the analysis of ethno-graphic and quantitative data,

1988-1992 | New York City Board of Education: Division of Research and
Byvyaluation. Research Assistant responsible for the design and implementation of
ptogtams to evaluate New York City’s drop-out prevention initiative.

1985-1987 Coordinator of Criminal Justice, Office of the Mayor of the City of
New York Assistant to the Director of Program Planning, designed a monitoring
system to assess criminal justice programs in New York City, and tracked the status of
juvenile and adolescent offenders in the criminal justice system. Selected
rehabilitation programs for delinquent youth for funding from the New York State

Division of Probation and Correctional Alternatives.

1983-1985 East Harlem Music School, New York City Development Officer and
Guidance Counselor: Under the auspices of the Board of Education and the Ford
Foundation, developed an alternative high school for high school dropouts.

1983-1985 Riker’s Island, Guidance Counselor and Life Skills Counselor at the
Male Adolescent Detention Center: conducted group therapy as part of model
progtam to enhance students’ performance on the GED.

1982 ‘Leachers College, Columbia University Vocational Counseling

Intern: Supervised by the clinical and counseling faculty, provided vocational and
therapeutic counseling mandating the use of standardized assessment and vocational
instruments,

1978-1980 | American Shakespeare Theatre — Stratford, Connecticut; Assistant to

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the Director of Educational Programs: Designed and implemented a model arts
program under Title VII to improve race relations between various groups in urban
and rural high schools.

Presentations and Publications

2022) ‘Type-3 Conflict and Peace Initiatives: Impacting Our “Naive Scientist.
hink Peace Podcast, George Mason University’s Carter School for Peace and
Conflict Resolution and the Mary Hoch Center for Reconciliation

2021) Gender Still Matters: Contemporary Challenges Facing Women Today:
arental Alenation and Gender Presentation at The Annual Forensic Division
Conference of The New York State Psychological Association

udiciary Social Services and Children and Families: the Dinowitz Heating: The

2021) Testimony for the New York State Assembly Standing Committees on
ournal of Interpersonal Violence (13)3 (in press)

2020) ‘The Boys in the Yacht: The Soft Underbelly of American Politics. Published in
Conflict Uncomplicated.

(2018) The Child Custody Conflict as a Microcosm of the Type Three Conflict:
resentation at the Annual Forensic Division Conference of the New York State
Psychological Association.

2016) Treating Children and Tamilies in the Context of High Conflict Divorce,
resentation delivered as a part of a panel on the New York State Psychological
Association’s Annuai conference

2015} Unmasking the abuse: Psychological defenses in child custody evaluations,
outnal of Child Custody 12, 3 — 4, 307-324.

01 5) ‘Thoughts on Controlling for Bias in Child Custody Evaluation Reports:
resentation at the Annual Forensic Division Conference of the New York State
Psychological Association

2011) He Said/She Said: Psychological Defenses in Custody Evaluation Disputes
apet delivered as patt of the lecture sexies of the Forensic
State Psychological Association.

(2010/2016) www.conflictuncomplicated.com

(2002). High conflict: the effect of personality disorders in the resolution of family
conflicts. Paper presented at the annual training session for law guardians appointed

ry

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(1996) doctoral dissertation. ‘The effects of cooperative learning on the academic self-
concept and academic achievement, New York: Columbia University.

(1993) Dropout prevention programs: Implications of recent findings for theory and
teseatch. Unpublished manuscript.

1992) Deutsch, M., Mitchell, V., Zhang, Q., Khattri, N., Tepavac, L., Weitzman, E.,

ynch, R. The effects of training in cooperative learning and conflict resolution in an
alternative hich school. International Center for Cooperation and Conflict Resolution,
‘Teachers College, Columbia University, :

Appointments, Memberships

Appointed by Governor Cuomo, re-appointed by Governor Hochul to the Blue
Ribbon Commission on Forensic Custody Evaluations, 2021

Chair, Child Custody Evaluation Committee, New York State Psychological
Association (2008 to 2018).

Chair, New York State Working Group on establishing oversight for Child Custody
Evaluations (2017 -2020),

Past-President, Forensic Division of the New York State Psychological Association
(NYSPA)

Selected for the American Psychological Association’s “Effective Providers” panel
which is developing new means for identifying and treating abused and traumatized
children.

2010 recipient of NYSPA’s Forensic Division’s Leadership to the Forensic Division
Award

Member, New York State Supreme Court, Appellate Division, First and Second
Department, Panel of Mental Health Professionals

Founding member, New York State Chapter of the Association of Family and
Conciliation Courts

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CITATIONS FOR PUBLICATIONS

Lynch, R. Winter, 2021). ‘Testimony of Robin Lynch, Ph.D. to the New York State
Legislature. Family and Intimate Partner Violence Quatterly, 13(3),18-20.

Robin M, Lynch (2015) Unmasking the Abuse: Psychological Defenses in Child
Custody Disputes, Journal of Child Custody, 12:3-4, 307-
324, DOT: 10.1080/15379418.2015.1102671

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EX, 2 — FINAL JOINT PRETRIAL ORDER
DEFENDANT/COUNTERCLAIMANT'’S LIST OF TRIAL EXHIBITS (PROPOSED)*
*to the extent any Exhibit is a duplicate of any other, those duplicates will be reduced to a single exhibit.
With respect to videos, some are full videos, while others are excerpts from a longer video (subject to
foundational testimony).

Def. Title or Description? Bates No. Other Ref. Plaintiff's Objections
Trial And/or Discovered? No. {nearly all exhibits are
Ex. insufficiently referenced with any
No, identification number ~ these
objections are based on limited
information}?
1 Elizabeth Burki and others’ social Discovered Div. Tr. MSJ H, NP
media postings Re Andrew Burki
“rapist”.
2 6/24/20 video/zoom call Andrew/Liz Discovered Div, Tr. MSJ H, IC, NR
Burki
3 1/31/20 text messages between Discovered Div. Tr. MSJ No objection
Liz/Julla/Claire LaRoche
4 8/2/20 video zoom call Liz Andrew Discovered Div. Tr. MSI H, IC, M, NR
Burkl “not rape”
5 6/24/20 zoom call Liz Andrew Burki Discovered Div. Tr. MSJ DUP, H, IC, NR
6 8/6/20 video zoom call Liz/Andrew Discovered Div. Tr, MSJ H, NB. NR
Burki “consensual”
7 Highlighted grand jury excerpt Discovered Div, Tr. MSJ H, NR
3/11/20

! Defendant reserves the right to (but may not) use all exhiblts identified in this section for any use including, but
not limited te rebuttal, impeachment of any witness, cross examination or on direct, subject to rulings on motions
in limine. motion inlimine. Defendant has separately identified below, those exhibits that relate solely to his
Counterciaim presentation related to the USB/listening device, and are separately classified at the end of this list.
2 Plaintiff reserves the right to make additional objections to exhibits that are not clearly identified in Defendant's
exhibit list.

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EX, 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED}*

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With respect to videos, some are full videos, while others are excerpts from a longer video (subject to

foundational testimon

)

Div, Tr. MSI

zoom call Liz/Andrew Burki “fix
stuff for you”

8 6/20/20 video/zoom call Discovered H, JC, M, NR (in part)
Liz/Andrew Burki “orchestrated”
gun

g 6/24/20 video zoom call Discovered Div. Tr. MSJ DUP, H, IC, M, NR
Liz/Andrew Burki “you're so anti-
gun”

10 Liz Burki public media postings Discovered Div. Tr. MSJ H, NP, unclear description

11 Excerpt of Elizabeth Burki Discovered Div. Tr. MSJ H, NP, NR
certification (trial exhibit P92)

12 Excerpt of submission to trial court Discovered Div. Tr. MSS H, NP, NR, unclear description
{P84}

13 6/20/20 video zoom call excerpt Dscovered Div. Tr. MS) DUP, H, IC, NR
“moving to Virginia” Liz/Andrew
Burki

14 6/26/20 video cali, Andrew/Liz Discovered Div. Tr. MSJ H, IC, NR
Burki “scorch you”

15 USB recording device (the actual Contents Discovered | Div. Tr. MS) | BE, F, NA, NR fin part), spoliated
device)

16 4/6/21 recording on USB device Discovered Div. Tr MSJ | BE, F, NA, NR (in part), spoiiated

17 6/24/20 excerpt audio recording Discovered Div, Tr. MSJ

DUP, H, IC, M, NR

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EX. 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED)*

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foundational testimon

)

Div. Tr. MSJ

18 Excerpts from party (Liz/Andrew} Discovered H, IC, NP, NR
Certifications identified as P190 in
trial

19 8/3/20 video/zoom call “belly Discovered Div. Tr. MSJ H, IC, NR
button ring” Liz/Andrew Burki

20 5/29/20 video call excerpt Discovered Div. Tr. MSI H, IC, NR
Andrew/Liz Burki “sell house”

21 Video 2/16/21 exchange AB video Discovered Div. Tr. MSJ H {in part), NR (in part}
Claire/Rip LaRoche
Claire LaRoche’s video from Discovered Div. Tr. H {in part}, NR (in part}

22 2/16/21 exchange MS)

23 10/25/20 video all accidentally Discovered Div. Tr. BE, H, M, NR
recorded by Claire LaRoche after MS]
call ended

24 4/7/21 Recording on USB Claire/Liz Discovered Div, Tr, BE, F, NA, NR {in part}, spoliated

MS]

25 3/2021 Cross Motion, Liz Burki Discovered Diy, Tr. H, NR
{Pa173 at trial}

26 Cross Motion, Liz Burki 9/9/2021 Discovered Div. Tr. H, NR

27 Excerpt 4/6/21 USB recording Discovered Div. Tr. BE, F, IC, NA, NR {in part),
PGO0/p49 div. tr. MS) spoliated

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EX. 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED)*

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foundational testimon

).

28 Excerpt 4/6/21 USB recording Discovered Div. Tr. BE, F, IC, NA, NR (in part),
P4170 i. Tr MSJ spoliated

29 Excerpt 4/6/21 USB recording Discovered Div, Tr. BE, F, IC, NA, NR (in part),
P170 div. tr. MSs] spoliated

30 Excerpt 4/6/21 USB recording Discovered Div. Tr. BE, Ff, IC, NA, NR (in part),
P169/51 div. tr, MS] spoliated

31 Excerpt 4/6/21 USB recording Discovered Div. Tr. BE, F, IC, NA, NR fin part},
P4168 div. tr. MSI spoliated

32 Excerpt 4/6/21 USB recording Discovered Div, Tr. BE, F, iC, NA, NR {in part),
P4167 div, tr. MSJ spoliated

33 Liz Burki sworn testimony before Discovered Div. Tr. H, NR (in part)
Hon. Sherri Schweitzer, re USB MS]
4/19/21

34 Audio Recording USB Device Discovered Div. Tr, BE, F, iC, NA, NR {in part),
“Bernardin” Clalre/Liz Burki, MSs) spoliated
4/6/2021

35 10/22/21 transcript, Motion, Judith Discovered Div, Tr. H, NR, M
S, Charny, JSC regarding USB device MSJ

36 Claire LaRoche CV and Longwood Discovered MSI No objection
University Website

37 Claire LaRoche Complaint, LaRoche | Discovered/Pleadings Ms] No objection

v. Burki (this case)

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EX, 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED)*

*to the extent any Exhibit is a duplicate of any other, those duplicates will be reduced te a single exhibit.
With respect to videos, some are full videos, while others are excerpts from a jonger video (subject to

foundational testimon

—

MSj Exhibit

38 Excerpt of Complaint Discovered DUP, iC
Band BL
39 Video #1 11/25/20 posted by Discovered MSI) No objection
Andrew Burki
40 Video #2 11/28/20 posted by Discovered MSJ No objection
Andrew Burki
41 Andrew Burki Counterclaim (this Discovered Ms] H, M, NR {in part)
case)
42 Excerpts of Andrew Burki sworn Discovered MSs) H, M, NR (in part), unclear
deposition transcript {Exhibit E description
43 Andrew Burki’s Interrogatory Discovered MS) No objection with respect to
Responses, this case Interrogatory Responses ## 5, 15
and defendant's signed oath.
Remainder is H, M, NR (in part).
44 Clalre LaRche interrogatory and Discovered MS) No objection
discovery responses
45 Except of video call 6/24/20 Discovered MSJ Exh G DUP, H, IC, NR
Andrew/Liz Burki
46(a) | Excerpts (2) of AB police interview Discovered MSJ Exh H H, IC, NR (except for discussion
and Exh | regarding gun}
(b)
49 Text Messages, Liz Burki to Andrew Discovered MS5J Exh K F, H, IC, NR (in part)

Burki 2/3/20

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EX. 2 — FINAL JOINT PRETRIAL ORDER
DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS {PROPOSED)*
*to the extent any Exhibit is a duplicate of any other, those duplicates will be reduced to a single exhibit,
With respect to videos, some are full videos, while others are excerpts from a longer video (subject to
foundational testimony)

50 Excerpt 2/24/20 TRO hearing Discovered MSJ Exh M H, IC, NR (in part)
51 TRO application filed by Liz Burki Discovered MSJ Exh O No objection
{MSJ Ex,
O=
“Transcript
of the
February
11, 2020
TRO
hearing”)
52 Excerpt of Claire LaRoche trial Discovered MSj Exh P H fin part), IC, NR {in part)
testimony before Judith $. Charny
53 Audio Recording Julia LaRoche Discovered MS) Exh Ri H, !C, NR (in part)
statement to Collingswood Police
{2021
54 Excerpt of Liz Burki trial testimony Discovered MSJ Exh S H, iC, NR {in part)
before Judith S. Charny, April 2022
55 Excerpt of Clalre LaRoche trial Discovered MSJ Exh T H, iC, NR (in part}
testimony before Judith S. Charny (MSJ Ex. T
4/2022 =
“Excerpts
of L Burki’s
testimony
in April
2022”
56 Excerpt of Liz Burki’s trial Discovered MS] Exh W H, iC, NR (in part)
testimony before Judith S, Charny
regarding “Corroborating
witnesses”
S7 6/24/20 video excerpt zoom/call Discovered MSJ Exh DUP, H, IC, NR
Andrew/Liz Burki “everyone just Wi
wanted me to leave”

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EX, 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED)*

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With respect to videos, some are full videos, while others are excerpts from a longer video (subject to

foundational testimon

\

58 6/27/22 excerpts from court’s Discovered MSJ Exh. C, H, IC, NR, P, see J. Kugler
decision, Judith 5. Charny W2 8/3/2023 Sj Decision at 10-11
(applies for all J, Charny
statements)
59 a-d | Excerpts from USB Discovered MSS DUP, BE, F, IC, NA, NR {in part},
Exhibits spoliated
X1-x4
60 4/21 Certification of Lisa Jensen Discovered Burki H, NR (in part}
Divorce
Trial
61 Final Report of Gregory Joseph, Discovered Burki Div, H, NR, not designated as expert
Psy.D Trial witness in discovery
62 6/26/20 video clip “scorch” Discovered Burki Div. DUP, H, NR, IC
Liz/Andrew Burki zoom call Trial
63 6/28/20 video clip “circumcise” Discovered Burki Div, H, NR, fC
Liz/Andrew Burki zoom call Trial
64 8/2/20 video clip “move to Discovered Burki Div. H, NP, NR, IC
Switzerland” Liz/Andrew Burki Trial
zoom call
65 6/24/20 video clip “never hit me” Discovered Burki Div, H, NR, IC
Liz/Andrew Burki zoom call Trial
66 8/2/20 video clip “consensual sex” | Discovered Burki Div, H, NP, NR, iC
Liz/Andrew Burki zoom call Trial
67 9/30/21 Order of Linda W. Eynoen, Discovered Burki Div. H, NP, NR
PJFP re emergent application filed Th
by Liz Burki
68 Photographs from 9/20 and 9/21 Discovered Burki Div. NP, NR
2021 taken by Claire LaRoche and Tr.
Liz Burki with Certification Excerpts
from Liz Burki’s October 2021
“emergent” application alleging
physical abuse of S.B.
69 Liz Burki “emergent” certification Discovered Burki Div, NP, NR
of abuse dated 10/20/2021 Tr,

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EX, 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED}*

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With respect to videos, some are full videos, while others are excerpts from a longer video (subject to

foundational testimon

},

70 Excerpt of Liz Burki’s testimony | Discovered Div. Tr. ic, unclear description
2/24/21 FRO hearing

71 6/24/20 video clip Liz/Andrew Discovered Div. Tr. DUP, H, IC, NR
Burki re “anti gun”

72 1/31/20 Videos (3) of Liz Burkiand | Discovered Div. Tr. No objection
Julia LaRoche searching for gun

73 2/24/20 excerpt of Liz Burki FRO Discovered Div. Tr. tC, unclear description
testimony about finding gun in
“attic”

74 3/11/20 grand jury testimony Discovered Div. Tr. DUP, H, IC, NR, unclear
exce[ript of Detective Cavanaugh description
re gun

75 7/14/20 forfeiture hearing Discovered Div, Tr.
testimony excerpt returning gun to iC, unclear description
Andrew Burki

76 Excerpt of Certification of Liz Burki | Discovered Div. Tr. H, IC, NR (in part), unclear
characterizing gun as assauit rifle description

77 8/3/20 excerpt of video Discovered Div. Tr. H, IC, NP, NR fin part)
conversation Liz/Andrew Burki
“destroyed reputation”

78 June 27, 2022 Transcript of Court’s | Discovered Div. Tr. C, H, IC, NR, P, see J. Kugler
Decision Burklv. Burki, Hon, Judith 8/3/2023 5) Decision at 10-11
S. Charny, JSC, FM-0401307-20 {applies for all J. Charny

statements)

79 Final Judgment of Divorce Discovered Div. Tr. Cc, H, IC, NR, P, see J, Kugler
6/27/2022 Judge Charny, Burkiv. 8/3/2023 SJ Decision at 10-11
Burki {applies for all J. Charny

statements)

80 11/15/22 sworn (virtual) Discovered This case H, NR (in part)
deposition of Julia LaRoche

81 1/19/21 certification excerpt Liz Discovered Div. Tr, H, IC, NR, M
Burki denying she said
“orchestrated”

82 1/19/21 certification excerpt Liz Discovered Div. Tr. H, IC, NR
Burki “not one red cent”

83 4/6/21 excerpt recording (device) Discovered Div. Tr. DUP, BE, F, IC, NA, NR {in part},

of Claire and Liz discussing who
placed device and DCP&P

spoliated

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yy $
EX. 2 — FINAL JOINT PRETRIA“ ORDER 4, be prt nod
DEFENDANT/COUNTERCLAIMANT’S LIST RIAL EXHIBITS {(PROPOSED)* G ut
*to the extent any Exhibit is a duplicate of any other, twOse duplicates will be reduced to a single exhibit. +
With respect to videos, some are full videos, wallyothers are excerpts from a longer video (subject to S 3
foundational testimony). MN
84 4/6/21 excerpt of recording Discovered Div. Tr. DUP, BE, F, IC, NA, NR {in part), d
(device} of Claire and Liz discussing spoliated pean
AB supervisors mm
85 4/6/21 excerpt of recording Discovered Div. Tr. DUP, BE, F, IC, NA, NR {tn part),
{device) of Clare dictating email to spoliated rolnleS
Liz’s lawyer (Lou Guzzo, Esq)
86 Sworn Affidavit of Ripon LaRoche Discovered Div. Tr. No objection iw
filed with Judge DiCamillo dated
2/26/21 re firearm :
87 Amended FRO dated 1/7/21 Discovered Div. Tr. No objection
Liz Burki v. Andrew Burki
88 4/6/21 excerpt recording (device) Discovered Div. Tr. DUP, BE, F, IC, NA, NR (in part},
Liz Burki and Claire LaRoche spoliated
discussing “serious abuse”
89 4/6/21 excerpt recording (device) Discovered Div. Tr. DUP, BE, F, IC, NA, NR (in part),
Liz Burki and Claire LaRoche spoliated
discussing “The Lorax book”
90 4/6/21 excerpt recording (device) Discovered Div. Tr. DUP, BE, F, IC, NA, NR (in part),
Liz Burki and Claire LaRoche spoliated
discussing Liz or Claire’s testimony
in the event device discovered
94 2/3/20 Transcript of TRO Hearing Discovered Div. Tr. No objection
before Hon Yolanda Rodriguez,
J.5,C,
Liz Burkiv. Andrew Burki FV-04-
1984-20
92 7/14/20 weapon forfeiture hearing | Discovered Div. Tr. No objection
before Christine Orlando, JSC FO-
04-693-20
93 3/11/20 Grand Jury Transcript, Discovered Div, Tr. DUP, H, NR
State v. Andrew Burki |-636-03-20
94 2/24/20 FRO hearing, Angelo T. Discovered DW, Tr. No objection
DiCamillo, JSC FV-G4-1984-20
95 2/7/20 detention hearing, Hon, Discovered Div. Tr. H, NR
Kathleen Delany, J.8.C. State v.
Andrew Burki, W-2020-0032-0411
96 4/19/21 Order to Show Cause Discovered Div, Tr. H, NR
Hearing, Angelo DiCamillo with
testimony of Liz Burki/Andrew
Burki
97 12/21/20 motion hearing Discovered Div. Tr. H, NR

transcript

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EX. 2 - FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED)*

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foundational testimen

}.

Liz Burkiv. Andrew Burki, Hon.
Angelo DiCamillo, FV-04-1984-20,
colloquy of Louis Guzzo re
representations by Liz Burki

98 9/9/2021 transcript of decision, Discovered Div. Tr. H, NR
denying emergent Order to Show
Cause filed by Liz Burki (alleging
abuse} of Hon. Linda W. Eynon,

PIFP

99 4/4/22 trial transcript, Burki v. Discovered Div. Tr. H, NR {in part), unclear
Burki (testimony of Liz description
Burki/Cla[IJre LaRoche} FM-04-

1307-20

100 4/5/22 Trial transcript, Burki v. Discovered Div, Tr NR {in part), unclear description
Burki (testimony of Claire LaRoche)

FM-04-1307-20

101 4/6/22 Trial transcript, Burki v. Discovered Div. Tr. NR {in part), unclear description
Burki {testimony of Claire LaRoche)

FM-04-1307-20

102 4/28/22 Trial transcript, Burkt v. Discovered Div. Tr. H, NR (in part}, unclear
Burki {testimony of Liz Burki} FM- description
04-1307-20

103 4/29/22 Trial transcript, Burkt v. Discovered Div. Tr. H, NR (in part}, unclear
Burki {testimony of Liz Burki) FM- description
04-1307-20

104 9/23/20 zoom cali Andrew Burki Discovered Div. Tr. H, NR
Recorded by Liz Burki

105 3/9/22 trial transcript, Burki v. Discovered Div. Tr. H, NR,not designated as expert
Burki {testimony of Andrew witness In discovery, unclear
Burki/Gregory Joseph) FM-04- description
1307-20

106 3/23/22 trial transcript, Burki v, Discovered Div. Tr. H, NR (in part), unclear
Burkl (testimony of Andrew Burki) description
FM-04-1307-20

107 3/29/22 Trial transcript, Burki v. Discovered Div. Tr. H, NR (in part), unclear
Burki (testimony of Andrew Burki) description
FM-04-1307-20-

108 3/30/22 Trial transcript, Burki v. Discovered Div. Tr. H, NR {in part), unclear
Burki {testimony of Andrew Burki description
FM-04-1307-20

109 5/17/22 trlal transcript, Burki v. Div. Tr. H, NR (in part), unclear

Burki (testimony of Liz Burki) FM-
04-1307-20

Discovered

description

10

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EX, 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED)*

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foundational testimon

}

Div, Tr.

110 5/18/22 trial transcript, Burki v. Discovered H, NR {in part), unclear
Burki (testimony of Liz Burki}) FM- description
04-1307-20

112 4/11/22 trial transcript, Burki v. Discovered Div, Tr, NR {in part}, unclear description,
Burki (redirect testimony of Claire defendant exhibit misnumbering
LaRoche} FM-04-1307-20

113 4/19/21 transcript OSC (emergent) | Discovered Div. Tr. DUP, H, NR
hearing, Liz Burki testimony (Burki
v. Burki) FM-04-1307\-20, Hon,

Sherri Schweitzer, /$C(recording
device)

114 2/3/20 written voluntary Discovered Div. Tr. No objection
statement prepared and signed by
Liz Burki te Collingswood PD re
TRO

115 2/4/20 Chelsea Nilsson Police Discovered Div. Tr, H, NR (in part)
Interview re gun

116 Video excerpt, Liz/Andrew Burki Discovered Div. Tr. MSJ DUP, H, IC, M, NR {in part}
“orchestrated gun”

117 2/5/20 Judith Forchione Police Discovered Diy. Tr. H, NR (in part)
Interview re gun Ms!

118 2/4/20 Cathline Meher police Discovered Div. Tr. H, NR (in part)
interview re gun MSJ

4119 2/4/20 police interview Julia Discovered Div, Tr. H, NR (in part}
LaRoche re gun

120 2/21/20 police Interview Sarah Discovered Div. Tr. H, NR {in part)
Temei

121 2/3/20 Liz Burki transcribed Discovered Div. Tr. H, NR (in part)
statement to police

122 Andrew Burki interview Detective | Discovered Div, Tr No objection {gun portion);
Manning Collingswood PD 2/3/20 remainder H and NR {in part)

123 Excerpts from competing Discovered Div, Tr. H, IC, NR, unclear description
Certifications Liz Burki 8/25/20 and
Andrew Burki from 7/29/0

124 Consent Order for Mutual Civil Discovered Div. Tr. H, NP, NR
Restraints by Louis Guzzo, 2021

125 Cross certification excerpts of Discovered Div. Tr. H, iC, NR
Elizzabeth Burki dated 1/19/21 and
Andrew Burki dated 11/18/20

126 8/25/20 certification of Liz Burkiin ; Discovered Div. Tr. DUP, H, NR (in part)
Burkiv, Burki re assault rifle

127 6/24/20 excerpt of video call Discovered Div, Tr. DUP, H, IC, M, NR {in part}

Liz/Andrew Burki “anti
gun” /orchestrated

11

Case 1:21-cv-13918-RBK-AMD Document145 Filed 10/11/23 Page 40 of 46 PagelD: 1406

EX, 2 — FINAL JOINT PRETRIAL ORDER
DEFENDANT/COUNTERCLAIMANT'S LIST OF TRIAL EXHIBITS (PROPOSED]*
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foundational testimony)

128 Video of USB Discovery/Lisa Discovered Div. Tr. H, NR (in part)
Jensen/Andrew Burki on 4/7/21

129 Entire Audio of USB contents Discovered Div. Tr. DUP, BE, F, IC, NA, NR {in part),

spoliated

130 Videos (4) of §.8. searching for USB | Discovered Div. Tr. H, IC, NR

(a}-{d} | (1) in Andrew Burki’s backpack/
apartment 7/20/21-7/25/21

131 Second video of S,8, searching for | Discovered Div. Tr, DUP, H, IC, NP, NR
USB (2) in Andrew Burki’s
apartment

132 Video conversation Andrew/Liz Discovered Div. Tr. H, NP, NR
Burki “money sign”

133 8/3/20 Video conversation Discovered Div. Tr. DUP, H, NR
Andrew/Liz Burki “Eddie Torres”

134 8/25/20 Liz Burki certification Discovered Div. Tr. DUP, H, IC, NR, unclear
excerpt filed with Hon. Dantel description
Bernardin JSC re Eddie Torres

135 6/10/20 excerpt of video Discovered Div. Tr. H, |C, NP, NR, unclear description
conversation between Liz/Andrew
Burki regarding “violations” and
prosecutor threatening her

136 6/20/20 excerpt of video Discovered Div. Tr. DUP, H, IC, M, NR (in part}
conversation between Liz/Andrew
Burki regarding “orchestrating” gun
charge

137 8/2/20 video call Liz/Andrew Discovered Div. Tr. DUP, H, IC, NP, NR
excerpt re: all relations were
consensual

138 2/3/20 “rough sex” excerpt Liz Discovered Div. Tr. DUP, H, IC, NR
Burki police interview

139 2/3/20 “chokes me” excerpt Liz Discovered Div, Tr. DUP, H, IC, NR
Burki police interview

140 6/28/20 video call Liz/Andrew Discovered Div. Tr. DUP, H, IC, NR
Burki “circumcise”

141 8/25/20 “circumcise” video Discovered Div. Tr. DUP, H, IC, NR

142 4/6/21 audio of USB Claire/Liz Discovered Div, Tr, DUP, BE, F, IC, NA, NR (in part),
discussing Lisa Jensen and blocking spoliated
supervisors

143 4/6/21 USB recording Claire and Liz | Discovered Div. Tr. DUP, BE, F, IC, NA, NR (in part),
dictating certification to Lou Guzzo spoliated
and deciding who will admit
planting the USB

144 Excerpt of Liz Burki’s sworn Discovered Div, Tr. DUP, H, IC, NR {in part), unclear
testimony before Judge Schweitzer description
— OSC hearing 4/19/21

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EX. 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED)*

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With respect to videos, some are full videos, while others are excerpts from a longer video (subject to

foundational testimon

)

145

Excerpt of Andrew Burki recorded
interview re rape allegation
Collingswood PD and CCPO
Detective/search warrant for his
phone

Discovered

Div. Tr.

DUP, H, IC, NR

146

8/25/20 Liz Burki certification
excerpt “typo” daily anal rape
claim

Discovered

Div, Tr.

DUP, H, IC, NR

147

6/24/20 video excerpt Andrew/Liz
Burki “everyone told me to
leave,..never hit me”

Discovered

Div. Ti.

DUP, H, IC, NR (in part}

148

2/26/20 sworn Affidavit of Clare
LaRoche filed w Judge DiCamillo re
“assault rifle”

Discovered

Div. Tr.

No objection

149

Dr. Samaroo risk assessment
6/12/20

Discovered

Div. Tr.

H, !C, F, NR, not designated as
expert witness in discovery

150

6/24/20 video excerpt Liz/Andrew
Burki “fix stuff for you” if you agree

Discovered

Div, Tr.

DUP, H, IC, NR

151

6/20/20 video call excerpt
Liz/Andrew Burki “moved to
Virginia”

Discovered

Div. Tr.

DUP, H, IC, NR

152

Liz Burki social media postings (6)
characterizing Andrew as rapist
and pedophile

Discovered

Div. Tr.

DUP, H, NP, NR, unclear
description

153

2/24/21 Lisa Jensen email to AB

Discovered

Div. Tr.

H, NR, NP

154

2/24/21 email from Nick Angelo

Discovered

Div. Tr.

H, NR, NP

155

2/24/21 email to AB from Rogan
O’Donnell

Discovered

Div. Tr.

H, NR

156

2/16/21 video of Claire and Rip
LaRoche confronting AB

Discovered

Div. Tr.

DUP, H (in part}, NR {in part)

157

8/3/20 video cail excerpt
Liz/Andrew Burki “get employer to
fire him”

Discovered

Div, Tr,

DUP, H, IC, NR

158

6/26/20 vide call excerpt
Liz/Andrew Burki “scorch”

Discovered

Div, Tr.

DUP, H, IC, M, NR

159

4/19/21 excerpt emergent hearing
transcript “Rihanna Kelly”

Discovered

Div, Tr,

H, NR

166

4/6/21 USB recording “what
constitutes severe abuse”
conversation Claire Burki and Liz
Burki (P534 divorce trial)

Discovered

Div. Tr.
MSI

DUP, BE, F, IC, NA, NR {in part},
spoliated

161

Excerpt 2/24/20 FRO hearing
before Hon, Angelo DiCamillo re AB
never abused S.B,

Discovered

Div. Tr.

DUP, H, IC, unclear description

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EX, 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED}*

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With respect to videos, some are full videos, while others are excerpts from a longer video (subject to

foundational testimen

).

162 8/1/20 video recorded zoom call Discovered Div, Tr. H, NR
Liz/Andrew Burki “private school if
5B stays in New Jersey
163 6/24/20 video recorded zoom call, | Discovered Div. Tr. DUP, H, IC, NR
Liz/Andrew Burkl “hope they never
see 5.8, again”
164 6/10/20 video zoom call AB/EB Discovered Div, Tr, DUP, H, NR
(complete)
165 6/20/20 video zoom call AB/EB Discovered Div, Tr. DUP, H, NP, NR
(complete}
166 6/24/20 video zoom call AB/EB Discovered Div. Tr, DUP, H, NR {in part)
(complete}
167 6/26/20 video zoam call AB/EB Discovered Div, Tr. DUP, H, NR
(complete)
168 6/28/20 video zoom call AB/EB Discovered Div, Tr, DUP, H, NR
(complete}
169 8/2/20 video zoom call AB/EB Discovered Div. Tr. DUP, H, NR
(complete}
170 8/3/20 video zoom cail AB/EB Discovered Div. Tr, DUP, H, NR
(complete)
171 Plea Agreement State v, Andrew Discovered Div. Tr. No objection
Burki 4/15/20
172 indictment State v, Burki 636-03-20 | Discovered Div. Tr. No objection
173 Text Messages Andrew/Liz Burki Discovered Div, Tr. H, NR, unclear description
1/28 to 2/2/20
174 Complete recorded statement of Discovered Div. Tr. H, NR {except gun portion)
AB to Collingswood PD 2/3/20
175 State v. Burki pretrial detention Discovered Div. Tr. No objection
Order
176 Collingswood P.D. Supp. Invest. Discovered Div. Tr. H, NP, NR (in part}
Report of 2/4/20
177 Collingswood P.D. invest. Report Discovered Div. Tr. H, NP, NR (in part}
2/4/20
178 Warrants and PC Affidavits State v, | Discovered Div. Tr. H, NP, NR {in part}, unclear
Andrew Burki description
179 Arrest Report 2/3/20 Discovered Div. Tr. H, NP, NR (in part}
180 1/30-2/3/20 Text Messages Discovered Div. Tr. No objection
to/from Claire LaRoche and Liz
Burki/Julia LaRoche
181 Exhibit “A” from Liz Burki’s Discovered Div. Tr. H, NR
4/26/21 certification
182 Exhibit “B” from Liz Burki’s Discovered Div. Tr. H, NR
4/26/21 certification

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EX, 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS (PROPOSED}*

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With respect to videos, some are fuli videos, while others are excerpts from a longer video (subject to

foundational testimon

\

183 Exhibit “C” from Liz Burki’s Discovered Div. Tr. H, NR
4/26/21 certification

184 FRO 2/24/20 Liz Burki v. Andrew Discovered Div. Tr. No objection
Burki FV-04-1984-20

185 Video call Claire LaRoche Discovered Div. Tr. BE, F, H, M, NR
accidentally recorded w/S.B.
10/25/20

186 Video Deposition Transcript of Discovered This case {Per FRCP 32 need to designate
Dawn Marie Schwartz portions)

187 Video Deposition Transcript of Discovered This case (Per FRCP 32 need to designate
David Lehr portions)

188 Video Deposition Transcript of Discovered This case {Per FRCP 32 need to designate
Linda Dowling pertions)

189 Video Deposition Transcript of Discovered This case Does not exist
Nick Angelo

190 Video Deposition Transcript of Discovered This case (Per FRCP 32 need to designate
Rogan O’Donnell portions)”

191 Dr Lynch Report Discovered This case No objection

191. Dr. Lynch Report in Andrew Burki Not discovered Most H, NR
v, Liz Burki pending in Superior Plaintiff produced Recent DV
Court before Kathleen M. Delaney, | and pald for case
J,S.C

192 Video Deposition Transcript of Discovered This case {Per FRCP 32 need to designate
Bennie Waller portions)

193 Video Deposition Transcript of Lisa } Discovered This case (Per FRCP 32 need to designate
Jensen portions)

194 Babaa and Franklin lawsuit against | Discovered This No objection
AB for 2,000,000 case/ECF

195 Dismissal Order Babaa and Discovered This H, NP, NR
Franklin lawsuit. case/ECF

196 Sara Baba statement to Discovered Divorce H
Collingswood Police “ball gag” trial

186 Liz Burki trial testimony 5/18/22 Discovered Divorce tr. H, NR (in part)

197 Lissa Franklin sworn affidavit Discovered Divorce Tr. No objection
2/5/20

198 Elizabeth Dorrow police statement | Discovered Div. Tr. H
Collingswood Police 2/4/20

199 Laura Kunz statement online Discovered Div. Tr. H, NP

200 Laura Kunz written statement to Discovered Div. Tr. No objection
Collingswood Police, February
2020

201 Lissa Franklin text messages and Discovered Div, Tr. H, NP

Laura Kunz tweet, 2/2020

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EX, 2 ~ FINAL JOINT PRETRIAL ORDER
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With respect to videos, some are full videos, while others are excerpts from a longer video (subject to
foundational testimony)

202 Video call 8/2/2020 Liz/Andrew Discovered Div. TR. DUP, H, NR
Burki related to Laura Kunz false
postings and public tweets re
sexual assault pre detention
hearing

203 Tricia Youngs letter to Judge Discovered Div. Tr. H, NP, NR
DiCamillo re: hearing

204 Claire LaRoche trial Testimony, Discovered Div. Tr. NR
4/6/2022 regarding Tricia Youngs
Burki v, Burki

205 6/20/20 excerpt of video call Discovered Div, Tr. DUP, H, IC, NR
“move to Virginia/compliance
power dynamics,” Andrew/Liz
Burki

*Note, for each video identified or proffered, the videos will be identified by the same exhibit in both
formats (with listening aid/transcriptions/closed captions and without, depending on how the Court
rules on the use of those captions. All videos will be presented without Andrew Burki’s written editorial
introductions/summaries).

COUNTERCLAIM EXHIBITS

Def, Date Title or Description Plaintiff's Objection

Trial

EX,

No.

Ci 4/7/2021 | Video of Discovery of USB device USB (Jensen/Burki) H, NR {in part)

C2 4/6/2021 | Audio Recording USB Device “eyes bleed” Claire/Liz DUP, BE, F, IC, NA, NR,
Burki spoliated

C3 4/6/2021 | Audio Recording USB Device “court will never turn on DUP, BE, F, IC, NA, NR
mother” Claire/Liz Burki fin part), spoliated

cA 4/6/2021 | Audio Recording USB Device- Claire/Liz “dictate letter DUP, BE, F, IC, NA, NR
to Lou Guzzo” Claire/Liz Burki {in part), spoliated

cs 4/6/2021 | Audio Recording USB Device “eyes bleed” Claire/Liz DUP, BE, F, IC, NA, NR,
Burki spollated

C6 4/4/2021 {| Excerpts Transcript of Trial, Claire LaRoche Testimony, DUP, IC, NR
Burki v. Burki, p94

C7 4/5/2021 | Excerpts of Cross Examination Claire LaRoche re Lorax DUP, IC, NR, unclear

description

C8 4/6/2021 | Audio Recording USB Device “Bernardin” Claire/Liz DUP, BE, F, iC, NA, NR,

Burki spoliated

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EX. 2 — FINAL JOINT PRETRIAL ORDER

DEFENDANT/COUNTERCLAIMANT’S LIST OF TRIAL EXHIBITS [(PROPGSED)*

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foundational testimony}.

c9 4/6/2021 | Audio Recording USB Device “Lorax” Clalre/Liz Burki DUP, BE, F, IC, NA, NR,
spoliated
c10 4/6/2021 | Audio Recording USB Device “what constitutes severe | DUP, BE, F, IC, NA, NR,
abuse” Claire/Liz Burki spoliated
Cii 4/6/2021 | Audio Recording USB Device Andrew fucked for many | DUP, BE, F, IC, NA, NR,
months/anxiety through the roof” Claire/Liz Burkl spoliated
C12 4/6/2021 | Audio Recording USB Device “want four more hours DUP, BE, F, IC, NA, NR,
and shut her down” Claire/Liz Burki spoliated
C13 Video of 5B searching backpack AB apartment DUP, H, IC, NR
C14 Video of SB searching apartment AB DUP, H, iC, NR
C15 4/6/2021 | Audio Recording USB Device “second recorder in DUP, BE, F, IC, NA, NR,
backpack” Claire/Liz Burki spoliated
C16 4/19/2021 | Transcript Order to Show Cause hearing Hon Sherri DUP, H, NR
Schweitzer, JSC, re USB; Burkiv, Burki, FM-04-1307-
20
C17 2/16/21 AB video recording of confrontation w Claire Rip H (in part}, NR (in part)
LaRoche Nick Angello exchange confrontation Clare
LaRoche
C18 2/16/24 Claire LaRoche supplied recording of incident re H (in part}, NR (in part)
exchange (Rip/Claire) in preceding exhibit
C19 Claire LaRache’s “Andrew’s Escort Friends” digital NP, unclear description
compilation prepared by Claire LaRoche and, again,
identification
C20 8/6/20 “Journal Entries” submitted by Claire LaRoche to DUP, IC, NP, NR (in part)
and Gregory Joseph in Burki v, Burki and Claire LaRoche
10/25/20 | trial testimony on 4/4, 4/5 and 4/6 of 2022 before
Judge Charny.’
C21 April, Clarie LaRoche divorce trial testimony (complete) H {in part}, NR fin part),
2022 need to designate
which portions per
FRCP 32 and FRE 801
€22 6/20/24 video excerpt Liz/Andrew Burki “not rape” DUP, H, IC, NR

. * Counterclaim Exhibits are marked with a prefix “C”, Counterclaimant reserves the right to rely on any
or all of Plaintiff’s Exhibits without specifically listing them in this submission,

KEY TO OBJECTIONS

BE — original evidence is required (FRE 1002)

C—Inadmisstble character evidence (FRE 404)

DUP — duplicate or cumulative (FRE 403}

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foundational testimony).

F ~ Lacking foundation

H ~ hearsay (FRE 801-802)

IC — incomplete (FRE 106)

M —not accurate, misleading, and confusing (FRE 403}
NA — not authentic (FRE 901)

NP — not produced in discovery (FRCP 37(c})

NR — not relevant or material (FRE 401-402}

P— prejudice outweighs probative value (FRE 403).

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